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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS LIABILITY                          Consolidated Under
LITIGATION (NO. VI)                                         MDL Docket No. 875




CALVIN DAMON and                                        :       CIVIL ACTION NO.
ROSEANNE DAMON, h/w                                     :       2:14-cv-01954-ER
                                  Plaintiffs,           :
                    v.                                  :
                                                        :
HONEYWELL INTERNATIONAL, INC.,                          :       ASBESTOS CASE
f/k/a ALLIED SIGNAL, INC.,                              :
Successor to BENDIX CORP., et al. ,                     :
                         Defendants                     :


                     DEFENDANT, HONEYWELL INTERNATIONAL, INC.’S
                         SUR REPLY TO PLAINTIFFS’ RESPONSE TO
                     DEFENDANT, HONEYWELL INTERNATIONAL, INC.’S
                           MOTION FOR SUMMARY JUDGMENT

            Defendant, Honeywell International, Inc. (“Honeywell”), as Successor in Interest to

Allied Signal, Inc., as Successor to Bendix Corporation, hereby submits its Sur Reply to

Plaintiffs’ Response to its Motion for Summary Judgment.

            Plaintiffs’ Response is a failed attempt to survive summary judgment by misrepresenting

and mischaracterizing the evidence of record. A thorough analysis of the numerous exhibits

cited by Plaintiffs, including Plaintiff’s testimony, experts’ reports, and various Navy documents

reveals that none of these materials establish that any Bendix radar equipment aboard the USS

Lake Champlain contained asbestos or that Plaintiff was exposed to asbestos attributable to

Bendix.



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              • Contrary to Plaintiffs’ contention, Plaintiff did not testify to exposure from

                Bendix asbestos dust. At most, he testified that he may have been exposed to dust

                when cleaning out the Bendix radar equipment, but (1) he had no personal

                knowledge whether the dust contained asbestos and (2) he was not sure about the

                source of the dust, noting that there were fans inside the equipment that would

                draw in whatever dust or debris was outside in the ECM room.

              • Plaintiffs attached numerous Navy documents to their Response, the vast majority

                of which pertain to electric power equipment, which does not include radar

                equipment/systems. For example, in Plaintiffs’ Exhibit “I,” a Military

                Specification for Electric Power Equipment, “electric power equipment” is

                defined to include “generators, motors, electric brakes, solenoids, thermostatic

                switches, relays, heaters, and all other items supplying or supplied directly by

                power systems. It does not include electronic, fire control, or interior

                communications equipment.” See Plaintiffs’ Exhibit “I,” at p. 2, sec. 3.1.

                Accordingly, Plaintiffs’ many documents related to electric power equipment

                generically and any references therein to asbestos materials are wholly irrelevant

                to radar equipment specifically, let alone Bendix radar equipment.

              • In addition, while some of Plaintiffs’ cited Navy documents contain references to

                the Bendix radar equipment, none of these documents reference or in any way

                demonstrate that there was asbestos in the Bendix radar equipment itself or make

                any connection between the Bendix radar equipment and any asbestos products or

                materials. Assuming Plaintiffs are correct that Plaintiff actually worked with


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                Bendix radar equipment in the first place, Plaintiffs are simply unable to point to

                any documents, or any other evidence for that matter, to establish that the Bendix

                radar equipment that Plaintiff worked with aboard the USS Lake Champlain

                contained asbestos.

              • Honeywell’s expert, Mr. McCaffery, did not concede that Bendix equipment

                similar to that on which Plaintiff worked contained asbestos. To the contrary, he

                concluded just the opposite:

                 [T]here is no evidence that either the gasket materials or phenolic plastics
                 contained asbestos . . . All of the gasket materials identified are
                 manufactured from neoprene rubber or paper (vellumoid). Previous
                 research has found that these gasket materials did not contain asbestos . . .
                 [T]he molded phenolic cases for toggle and push button switches detailed in
                 the extracts from “Instruction Book for Radar Set AN/SPN-8 (XN-1)”
                 (Reference C), Table of Replaceable Parts, are all asbestos-free phenolics.
                 See Exhibit “C” to Honeywell’s Motion, at p. 8.

              • Although some, but not all, molding compounds used in Navy electrical systems

                contained asbestos pre-1953 (according to Mr. McCaffery, in the 1940s), changes

                in the 1950s and early 1960s (Plaintiff served on the USS Lake Champlain from

                1964-1966) phased out the use of asbestos from those parts generally. More

                importantly, however, as to the Bendix equipment specifically, Mr. McCaffery

                concluded that the molded compounds at issue were “all asbestos-free phenolics.”

                 See Exhibit “C” to Honeywell’s Motion, at p. 8.

              • In his report, Plaintiffs’ expert, Mr. Faherty, does not identify Bendix as a brand in

                particular nor does he identify the type of Bendix radar involved herein (i.e.,

                AN/SPN-8 (XN-1). Rather, he discusses radar and antennas in general and the



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                     only specific type of radar he mentions is an AN/SPS-6 NAVSHIPS 91081, which

                     is different from the Bendix radar equipment.

                   • Plaintiffs do not dispute several critical points raised in Honeywell’s Motion:

                          a) that Plaintiff, by his own words, did not know the source of the dust he

                              cleaned from the Bendix radar equipment – what it came from and

                              whether it even came from inside or outside the equipment;

                          b) that Plaintiff, by his own words, did not know whether the dust came from

                              the Bendix radar equipment itself;

                          c) that Plaintiff, by his own words, did not know whether the dust from the

                              process of cleaning the Bendix radar equipment contained asbestos; and

                          d) that Plaintiff, by his own words, did not know whether the Bendix radar

                              equipment contained asbestos.

            In addition, Honeywell maintains that Plaintiffs’ analysis with respect to the Howard decision

is incorrect on several critical points:

               •     Plaintiffs’ argument that the Howard opinion is dicta is nothing but legal folly as

                     Plaintiffs seek to adopt the position of a single concurring justice despite the fact that

                     this is a unanimous decision by the Court on the merits. As the majority correctly

                     states, its decision provides an explanation for the disposition of the pending matter

                     and sets forth well-established principles relevant to that outcome. As such, it is

                     binding legal precedent.

               •     Howard does not simply reaffirm several governing principles from prior cases, but

                     rather, it sends an unmistakable message to the trial and appellate courts of this


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                 Commonwealth. Many courts have not been following these principles as espoused

                 in Gregg and Betz by limiting or marginalizing their application. It is now clear and

                 free from doubt that if plaintiffs cannot satisfy the burdens set by these principles,

                 then their claims must be dismissed at the summary judgment stage.

             •   Plaintiffs’ suggestion that Betz requires summary judgment only where there is both

                 de minimus exposure and an expert opinion based on the “every exposure” theory is

                 a misinterpretation of the law. De minimus exposure and an “every exposure”

                 opinion are two separate and independent grounds, each of which alone provides a

                 basis for the granting of summary judgment.

             •   Contrary to Plaintiffs’ position, Howard does, indeed, require that plaintiffs’ experts

                 offer more than generalized or superficial statements in support of their opinions. A

                 mere recitation of the work or exposure history or a simple mention of products

                 without any analysis or explanation is wholly inadequate. The experts must address

                 dose as a factor in their opinions and also must provide some reasoned,

                 individualized assessment of a plaintiff’s exposure history. In addition, while a Frye

                 challenge is available, it is a timely and expensive procedure and, more importantly,

                 it is not necessary where the expert’s opinion is invalid on its face.

             •   Plaintiffs’ contention that more than de minimus exposure is, by itself, sufficient to

                 withstand summary judgment and get to a jury is in error. Plaintiffs mistakenly

                 equate de minimus exposure pursuant to the frequency, regularity, and proximity

                 standard with an analysis on dose. These are separate and distinct legal and scientific

                 concepts. For example, there can be frequent, regular, and proximate exposure to a


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                 product, but where the product gives off little or no asbestos fibers, then there cannot

                 be a sufficient dose from that product to constitute a substantial contributing factor

                 in causing the alleged disease. This fact alone is pertinent to the case at bar since

                 Plaintiffs’ experts’ reports fail to consider either of these two issues. That is

                 precisely why the Howard court requires that experts consider dose and offer an

                 individualized assessment when rendering their causation opinions before the

                 opinions are legally sufficient on causation. In order to establish substantial factor

                 causation, as required by Betz under the Restatement (Second) of Torts §433, the

                 exposure from a particular defendant’s product must also be compared with the

                 totality of the plaintiff’s exposures. This principle was expressly recognized by the

                 Howard court and excerpted from Plaintiffs’ counsel’s own brief to the court.

             •   At the summary judgment stage, this court can make the determination whether the

                 exposure evidence and the expert’s opinion are insufficient to prove substantial factor

                 causation.

             •   It cannot be left for the jury to determine if the exposure from each defendant’s

                 product was a substantial contributing factor absent an expert opinion addressing the

                 exposure of each individual defendant. Once a valid opinion is presented on this

                 issue, then the jury can assess whether to accept or reject that opinion. Furthermore,

                 this court, in its gatekeeper role, can and should strike down expert opinions based on

                 the “every exposure” theory or some semantic variation thereof.




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               •   It is not Honeywell’s position that Plaintiffs must prove that each defendant alone

                   caused the alleged injury; rather, Plaintiffs must prove that the exposure from

                   each defendant’s product was a substantial contributing factor to that injury.

            For all the foregoing reasons, Plaintiffs have failed to meet their burden under the law and

summary judgment must be granted in Honeywell’ s favor.

                                                 Respectfully submitted,

                                                         RAWLE & HENDERSON LLP

                                                 BY:     /s/ Peter J. Neeson
                                                        Peter J. Neeson, Esquire
                                                        Benjamin Rose, Esquire
                                                        Attorney Identification Nos. 27601/42203
                                                        The Widener Building
                                                        One South Penn Square
                                                        Philadelphia, PA 19107
                                                        215-575-4200
                                                        Attorneys for Defendant,
                                                        Honeywell International, Inc.
Dated: August 27, 2015




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                                  CERTIFICATE OF SERVICE

            PETER J. NEESON, ESQUIRE, certifies that he served a true and correct copy of the

attached Sur Reply to Plaintiffs’ Response to Motion for Summary Judgment upon all counsel of

record electronically via Electronic Court Filing on the date listed below.




                                                      RAWLE & HENDERSON LLP


                                              BY:      /s/ Peter J. Neeson
                                                      Peter J. Neeson, Esquire
                                                      Benjamin Rose, Esquire
                                                      Attorney Identification Nos. 27601/42203
                                                      The Widener Building
                                                      One South Penn Square
                                                      Philadelphia, PA 19107
                                                      215-575-4200
                                                      Attorneys for Defendant,
                                                      Honeywell International, Inc.
Dated: August 27, 2015




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